          Case 1:20-cv-06367-PKC-JRC Document 4 Filed 01/04/21 Page 1 of 2 PageID #: 18

AO 440 (Rev. 12/09) Summons in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Eastern District
                                                       __________ Districtofof
                                                                             New  York
                                                                               __________
BOARD OF TRUSTEES OF THE UNITED UNION OF ROOFERS, WATERPROOFERS &
ALLIED WORKERS LOCAL UNION NO. 8 ANNUITY FUND, PENSION FUND, WELFARE
 FUND, SUMMER BENEFIT FUND, WINTER BENEFIT FUND, LABOR MANAGEMENT
  COMMITTEE FUND, INDUSTRY PROMOTION FUND, JOINT APPRENTICESHIP
TRAINING FUND, RESEARCH AND EDUCATION FUND, and NICK SICILIANO, Trustee,     )
                                                                             )
                                Plaintiff
                                                                             )
                                   v.                                        )       Civil Action No. 20-cv6367 PKC-RML
               GILBERT CONTRACTING INC. and JOHN MODICA,                     )
                                                                             )
                              Defendant
                                                                             )


                                                       SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)          GILBERT CONTRACTING INC.
                                            4163 Merrick Road, Massapequa, NY 11758

                                            JOHN MODICA
                                            354 Cypress Street, Massapequa Park, NY 11762




           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Sylvie Straus-Figueroa, Esq.
                                            Law Offices of William Rothberg
                                            16 Court Street, Suite 2200
                                            Brooklyn, NY 11241



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                         Douglas C. Palmer
                                                                                       CLERK OF COURT


Date:               01/04/2021                                                                         s/Kimberly Davis
                                                                                                 Signature of Clerk or Deputy Clerk
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 Civil Action No. 20-cv6367 PKC-RML

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                  on (date)                          ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                          ; or

           ’ I returned the summons unexecuted because                                                                             ; or

           ’ Other (specify):
                                                                                                                                          .


           My fees are $                           for travel and $                 for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                     Reset
